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                                                                  Ir       ,Fe'-!i j ~.
                        UNITED STATES DISTRICT COURT              I r -! -'"""---'-,
                      SOUTHERN DISTRICT OF CALIFORNIAj                 L~EB_=,"~"~~~J
UNITED STATES OF AMERICA,                    CASE NO.   12cR46271j;;:::~9~-~
                       Plaintiff,
                vs.                          JUDGMENT OF DISMISSAL
MARIA DEL ROSARIO HERNANDEZ,

                       Defendant.


          IT APPEARING that the defendant is now entitled to be discharged
for the reason that:

      an indictment has been filed in another case against the defendant and
      the Court has granted the motion of the Government for dismissal of
      this case, without prejudice: or

      the Court has dismissed the case for unnecessary delay: or

--A   the Court has granted the motion of the Government for dismissal,
      without prejudice; or

      the Court has granted the motion of the defendant for a judgment of
      acquittal; or

      a jury has been waived, and the Court has found the defendant not
      guilty; or

      the jury has returned its verdict, finding the defendant not guilty:

-X-   of the offense(s) as charged in the Indictment/Information:

      21:846 and 841(a) (1) - Conspiracy to Distribute Marijuana



            IT IS THEREFORE ADJUDGED that th        defendant


 DATED: 2/21/2013
                                                          Dembin
                                              U.S. Magistrate Judge
